Case 3:23-cv-00099-RGJ-CHL Document 19 Filed 06/15/23 Page 1 of 7 PageID #: 107




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

  BRIDGET GORDON                                                                         Plaintiff

  v.                                                      Civil Action No. 3:23-cv-99-RGJ-CHL

  KING FINANCIAL REPAIR, LLC                                                            Defendant

                                             * * * * *

                                     SCHEDULING ORDER

        The Court conducted a telephonic Federal Rule of Civil Procedure 16 scheduling

 conference in this matter on June 8, 2023, with the following counsel participating:

        For Plaintiffs:        Chad W. Eisenback

        For Defendant:         Jan M. West

        Based on the discussion during the conference, the Joint Report of the Parties’ Planning

 Meeting [DE 14], and the Court being otherwise sufficiently advised, it is hereby ORDERED the

 following deadlines and conditions shall be observed in this action:

        Fact Discovery.

                a) Initial disclosures pursuant to Rule 26(a)(1) shall be completed no later than

                    June 14, 2023.

                b) Any motion to join additional parties or amend pleadings shall be filed by

                    plaintiff no later than June 30, 2023, and by defendant no later than July 21,

                    2023.

                c) The parties are under a continuing duty under Rule 26(e) to supplement their

                    disclosures and responses whenever reasonably appropriate;

                d) The parties shall complete fact discovery no later than November 17, 2023.



                                                 1
Case 3:23-cv-00099-RGJ-CHL Document 19 Filed 06/15/23 Page 2 of 7 PageID #: 108




        (2)     Expert Discovery.

                a) Identification of experts in accordance with Rule 26(a)(2) shall be due:

                        i. By Plaintiff(s):   No later than October 1, 2023

                       ii. By Defendant(s): No later than October 31, 2023

                b) At the time expert reports and supplementation of the reports are exchanged, at

                    least two proposed dates for the deposition of each expert witness within the

                    following thirty days shall be provided.

                c) All expert discovery shall be completed by November 17, 2023

        (3)     Joint Status Report and Conference at the Close of Discovery.

                a) A telephonic status conference is scheduled for October 17, 2023, at 10:00

                    a.m. before the Honorable Colin H. Lindsay, United States Magistrate Judge.

                    Counsel shall connect to the conference by dialing 1-888-808-6929, access

                    code 2773744.

                b) By no later than October 10, 2023, the parties shall file a joint status report

                    with the Court that includes the parties’ positions on mediation.

        (4)     Dispositive and Expert Motions. No later than January 5, 2024, counsel for the

 parties shall file all dispositive motions and any motions objecting to the admissibility of expert

 witness testimony under Federal Rule of Evidence 702, Daubert v. Merrell Dow Pharmaceuticals,

 Inc., 509 U.S. 579 (1993), and Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999). The party

 filing the last pleading in response to such motions shall notify the Court by email to the Court’s

 Deputy, Ms. Andrea Morgan by email at andrea_morgan@kywd.uscourts.gov, with copies to




                                                  2
Case 3:23-cv-00099-RGJ-CHL Document 19 Filed 06/15/23 Page 3 of 7 PageID #: 109




 opposing counsel, that the motions are ripe for decision. Applications for extensions of time will

 be granted only upon good cause shown.

        (5)     Pretrial Conference. This matter is assigned for a Pretrial Conference before the

 trial judge on July 23, 2024, at 1:30 p.m. at the Gene Snyder U.S. Courthouse, Louisville,

 Kentucky.

                a) No later than twenty-one (21) days before the Pretrial Conference, counsel

                   shall file:

                        i. a list of witnesses in accordance with the Fed. R. Civ. P. 26(a)(3). The

                           witness lists shall specify those witnesses who will testify at the trial of

                           this action versus those who may testify, in accord with Fed. R. Civ. P.

                           26(a)(3)(A) and shall identify all witnesses who will testify by

                           deposition, specifying the portions of such deposition testimony that

                           will be used at trial, in accord with Fed. R. Civ. P. 26(a)(3)(B). The

                           witness lists shall also set forth the subject matter of each witness’s

                           testimony and the purpose for which such testimony is offered;

                       ii. an exhibit list in accordance with the Fed. R. Civ. P. 26(a)(3). The

                           exhibit list shall include any demonstrative and/or summary exhibits to

                           be used at trial (including any to be used during opening statements) and

                           shall contain a description of each exhibit in sufficient detail to permit

                           adequate identification thereof;

                      iii. any appropriate motions in limine;

                      iv. the transcript of all evidentiary depositions to be used at trial along with

                           any motions for ruling by the court upon any objection made in any



                                                  3
Case 3:23-cv-00099-RGJ-CHL Document 19 Filed 06/15/23 Page 4 of 7 PageID #: 110




                       evidentiary deposition to be used at trial on which ruling by the court is

                       necessary prior to trial. Any objection within any deposition which is

                       not so raised specifically (by citation to page number and question

                       number) for ruling by the court shall be deemed to be summarily

                       overruled;

                   v. a pretrial memorandum brief containing a succinct statement of the facts

                       of the case, the issues of fact to be resolved at trial, the disputed issues

                       of law that must be resolved in connection with the trial, and a brief

                       summary of the party’s position on each disputed issue of fact or law,

                       and;

                  vi. proposed agreed jury instructions and verdict forms. Counsel shall

                       exchange drafts of instructions and verdict forms in advance and

                       endeavor to agree; in the absence of agreement, separate instructions

                       and verdict forms shall be filed, by the same deadline, including citation

                       to supporting authorities; and

                 vii. proposed voir dire questions for the Court’s use and a joint statement of

                       the case that may be read to the jury panel during voir dire.

            b) No later than fourteen (14) days before the Pretrial Conference, the parties

               shall file:

                    i. written objections, pursuant to Fed. R. Civ. P. 26(a)(3), to the lists of

                       witnesses and exhibits previously filed by any other party. Objections

                       not so disclosed, other than objections under Rules 402 and 403 of the




                                              4
Case 3:23-cv-00099-RGJ-CHL Document 19 Filed 06/15/23 Page 5 of 7 PageID #: 111




                          Federal Rules of Evidence, shall be deemed waived unless excused by

                          the court for good cause shown;

                      ii. responses to any other party’s motion in limine; and

                      iii. responses to any other party’s motion for a ruling on any objection made

                          in an evidentiary deposition.

               c) At the Pretrial Conference, counsel for the parties shall be prepared to:

                       i. discuss and make possible stipulations of admissibility, or threshold

                          foundation requirements for admissibility of exhibits, including

                          authenticity; discuss and make stipulations of fact or law which would

                          expedite the trial of this action;

                      ii. disclose any demonstrative or summary exhibits intended for use at trial;

                      iii. display to the court all exhibits intended to be used at trial, which shall

                          already be pre-marked in accordance with Local Rule. Counsel shall

                          provide the court with a copy of all documentary exhibits. Failure to

                          disclose exhibits to the Court and to opposing counsel at the Pretrial

                          Conference shall be subject to sanctions unless good cause is shown;

                      iv. discuss the possibility of settlement; and

                      v. advise the Court of anticipated technological issues that may arise at

                          trial.

               d) The Pretrial Conference shall be attended by all attorneys who will be trying

                   the case along with the parties and/or representatives.

        (6)    Trial. This action is hereby set for a jury trial on September 3, 2024, at 9:30 a.m.

 at the Gene Snyder United States Courthouse, Louisville, Kentucky. Counsel should be present in



                                                 5
Case 3:23-cv-00099-RGJ-CHL Document 19 Filed 06/15/23 Page 6 of 7 PageID #: 112




 the courtroom by 9:00 a.m. The anticipated length of trial is 3 days. The Western District of

 Kentucky’s plan for the qualification and random selection of jurors, General Order 2013-02, is

 available on the Court’s website at https://www.kywd.uscourts.gov/jury-info. Pursuant to Section

 5.02 of the Plan, “the names of persons assigned to individual petit jury panels, as well as the

 contents of their juror qualification questionnaires, may be disclosed to the parties seven days prior

 to the trial date unless otherwise ordered by the court.”

        (7)     Discovery Disputes. Motions on discovery and scheduling disputes may not be

 filed without first having a joint telephonic conference with the undersigned. Counsel shall

 contact Case Manager Theresa Burch (theresa_burch@kywd.uscourts.gov) to schedule the

 conference. Pursuant to Local Rule 37.1, prior to filing a discovery motion (i.e., motion to compel,

 motion for sanctions etc.), all counsel must make a good faith effort to resolve extra judicially any

 dispute relating to discovery. The Court will not entertain discovery motions unless counsel have

 conferred – or attempted to confer – with other affected parties in an effort to resolve their dispute.

 The moving party must attach to every discovery motion a certification that counsel have conferred

 and are unable to resolve their differences. The certification must detail counsel’s attempts to

 resolve the dispute.

        (8)     Deadline Extensions. No extensions of the deadlines set in this order, or any

 deadline set by the Federal Rules of Civil Procedure, shall be granted unless an appropriate

 motion is filed prior to expiration of the deadline in question, and upon a showing of good

 cause beyond the control of counsel in the exercise of due diligence. In the event all parties

 agree to extend a deadline set in this order, or a deadline contained in the Federal Rules of

 Civil Procedure, the parties must file a joint motion attaching the agreed order. This




                                                   6
Case 3:23-cv-00099-RGJ-CHL Document 19 Filed 06/15/23 Page 7 of 7 PageID #: 113




 provision shall prevail over Joint Civil Local Rule 7.1 regarding motions to the extent

 inconsistent therewith.

        (9)     The undersigned is conducting settlement conferences both via Zoom and in

 person. The undersigned also remains available to conduct ex parte calls regarding settlement

 upon request. Any Party who wishes to request either a settlement conference or an ex parte call

 regarding settlement shall e-mail the undersigned’s Case Manager, Theresa Burch, at

 theresa_burch@kywd.uscourts.gov, copying all counsel of record, to request the same. If

 requesting a settlement conference, the Parties shall confer and state in any request whether they

 prefer the conference be held in person or via Zoom.

        June 14, 2023


                                              ENTERED BY ORDER OF THE COURT:
                                              COLIN H. LINDSAY
                                              UNITED STATES MAGISTRATE JUDGE
                                              JAMES J. VILT JR., CLERK
                                              BY: /s/ Theresa L. Burch, Deputy Clerk



 Copies to:             Counsel
                        Jury Administrator




 :10




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